           Case 4:21-cv-01705-PJH Document 159 Filed 08/31/23 Page 1 of 2




1    NORA FRIMANN, City Attorney (93249)
     ARDELL JOHNSON, Assistant City Attorney (95340)
2    YUE-HAN CHOW, Senior Deputy City Attorney (268266)
     MATTHEW PRITCHARD, Senior Deputy City Attorney (284118)
3    JAMES HUANG, Deputy City Attorney (309476)
     Office of the City Attorney
4    200 East Santa Clara Street, 16th Floor
     San José, California 95113-1905
5    Telephone Number: (408) 535-1900
     Facsimile Number: (408) 998-3131
6    E-Mail Address: cao.main@sanjoseca.gov
7    Attorneys for Defendants
8
                                   UNITED STATES DISTRICT COURT
9
                                 NORTHERN DISTRICT OF CALIFORNIA
10                                          OAKLAND DIVISION
11
12     NAACP OF SAN JOSE/SILICON                            Case Number: 21-cv-01705-PJH
       VALLEY, et al.
13
                                                            DEFENDANTS’ BRIEF ON
14                           Plaintiffs,                    PLAINTIFFS’ LETTER SEEKING
                                                            CLARIFICATION ON STATE LAW
15                    v.                                    CLAIMS

16     CITY OF SAN JOSE, et al.
17
18                           Defendants.
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22          Pursuant to this Court’s Order on August 28, 2023 (ECF 157), Defendants submit this
23   brief in response to Plaintiffs’ letter seeking clarification on the state law claims of Plaintiffs
24   Swift and Allen against Defendant City of San Jose (ECF 155). Defendant City of San Jose
25   does not dispute that if Plaintiff Swift and/or Allen succeeds on any state law claims against
26   an individual Defendant officer, then Defendant City of San Jose will also be vicariously liable.
27   In the interest of judicial economy, and to obviate the need for jury consideration of this issue,
28   Defendant City of San Jose would be willing to stipulate that if any Plaintiff succeeds on a


      DEFENDANTS’ BRIEF ON PLAINTIFFS’ LETTER                                               21-cv-01705-PJH
      SEEKING CLARIFICATION ON STATE LAW CLAIMS
                                                                                                    2049869
          Case 4:21-cv-01705-PJH Document 159 Filed 08/31/23 Page 2 of 2




1    state law claim as against an individual officer, then judgment on those state law claims will

2    be entered against Defendant City of San Jose as well.

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4                                                       Respectfully submitted,

5     Dated: August 31, 2023                            NORA FRIMANN, City Attorney
6
                                                        By: ___ /s/ Yue-Han Chow ___
7                                                            YUE-HAN CHOW
                                                              Senior Deputy City Attorney
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                                                        Attorneys for Defendants
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      DEFENDANTS’ BRIEF ON PLAINTIFFS’ LETTER                                          21-cv-01705-PJH
      SEEKING CLARIFICATION ON STATE LAW CLAIMS
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